                                          (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)




                                                            ALAMEDA
      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)



                 (Firm Name, Address, and Telephone Number)                                                          (If Known)
Sharona Eslamboly Hakim, Esq. (SBN 180998)                                                              Charles D. May, Esq. (SBN 129663) / Andrea Breuer, Esq. (SBN 161819)
Law Offices of Sharona Eslamboly Hakim                                                                  Tharpe & Howell, LLP
8730 Wilshire Blvd., Suite 500, Beverly Hills, CA 90211                                                 15250 Ventura Blvd., 9th Floor, Sherman Oaks, CA 91403
                                                (Place an X in One Box Only)                                                                       (Place an X in One Box for Plaintiff
                                                                                               (For Diversity Cases Only)                            and One Box for Defendant)

                                                                                                                                                        or
                                            (U.S. Government Not a Party)
                                                                                                                                                        and
                                           (Indicate Citizenship of Parties in Item III)



                                     (Place an X in One Box Only)




                     (Place an X in One Box Only)

                                                                                                                                         (specify)


                                                                                           (Do not cite jurisdictional statutes unless diversity)




                    (See instructions):




            May 9, 2022
 1                                  PROOF OF SERVICE
 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3   1.   At the time of service I was at least 18 years of age and not a party to this
          legal action.
 4
     2.   My business address is 15250 Ventura Boulevard, Ninth Floor, Sherman Oaks,
 5        CA 91403.
 6   3.   I served copies of the following documents (specify the exact title of each
          document served):
 7
                                       CIVIL COVER SHEET
 8
     4.   I served the documents listed above in item 3 on the following persons at the
 9        addresses listed:
10            Narek Postajian, Esq.                   Attorneys for Plaintiff, MARIAH
              LAW OFFICES OF SHARONA                  BOYKINS
11            ESLAMBOLY HAKIM
              8730 Wilshire Blvd., Suite 500
12            Beverly Hills, CA 90211
              Tel: 310.289.9100
13            Fax: 310.289.0101
              Email: narek@sehlawfirm.com
14            Email: Reanna@sehlawfirm.com
15   5.   a         By personal service. I personally delivered the documents on the date
                    shown below to the persons at the addresses listed above in item 4. (1)
16                  For a party represented by an attorney, delivery was made to the
                    attorney or at the attorney's office by leaving the documents in an
17                  envelope or package clearly labeled to identify the attorney being served
                    with a receptionist or an individual in charge of the office. (2) For a
18                  party delivery was made to the party or by leaving the documents at the
                    party's residence between the hours of eight in the morning and six in
19                  the evening with some person not less than 18 years of age.
20        b         By United States mail. I enclosed the documents in a sealed envelope
                    or package addressed to the persons at the addresses in item 4 and
21                  (specify one):
22                  (1)      deposited the sealed envelope with the United States Postal
                             Service, with the postage fully prepaid on the date shown
23                           below, or
24                  (2)      placed the envelope for collection and mailing on the date
                             shown below, following our ordinary business practices. I am
25                           readily familiar with this business's practice for collecting and
                             processing correspondence for mailing. On the same day that
26                           correspondence is placed for collection and mailing, it is
                             deposited in the ordinary course of business with the United
27                           States Postal Service, in a sealed envelope with postage fully
                             prepaid.
28

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                                     CIVIL COVER SHEET
                                        1                    I am a resident or employed in the county where the mailing occurred.
                                                             The envelope or package was placed in the mail at Sherman Oaks,
                                        2                    California.
                                        3          c           By overnight delivery. I enclosed the documents on the date shown
                                                               below in an envelope or package provided by an overnight delivery
                                        4                      carrier and addressed to the person at the addresses in item 4. I placed the
                                                               envelope or package for collection and overnight delivery at an office or a
                                        5                      regularly utilized drop box of the overnight delivery carrier.
                                        6          d           By fax transmission. Based on an agreement of the parties to accept
                                                               service by fax transmission, I faxed the documents on the date shown
                                        7                      below to the fax numbers of the persons listed in item 4. No error was
                                                               reported by the fax machine that I used. A copy of the fax transmission,
                                        8                      which I printed out, is attached to my file copy.
                                        9          e     X     By Electronic Transmission. By E-Mailing The Document(S) To The
                                                               Person(S) At The E-Mail Address(Es) Listed In Item 4 Pursuant To
                                       10                      Prior Written Consent Of The Party(Ies) Served. Fed.R.Civ.P.
                                                               5(B)(2)(E) And (F). I Caused The Documents To Be Sent On The Date
                                       11
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                                               Shown Below To The E-Mail Addresses Of The Persons Listed In Item
                                                               4. No Electronic Message Or Other Indication That The Transmission
    THARPE & HOWELL, LLP




                                       12                      Was Unsuccessful Was Received Within A Reasonable Time After The
                                                               Transmission.
                                       13

                                       14   6.      I served the documents by the means described in item 5 on (date): See Below
                                       15   I declare under penalty of perjury under the laws of the State of California that the
                                            foregoing is true and correct.
                                       16
                                            5/9/2022                Bertha Munoz
                                       17
                                              DATE             (TYPE OR PRINT NAME)                         (SIGNATURE OF DECLARANT)
                                       18

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                                                                                      CIVIL COVER SHEET
